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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.          CV 22-0095 FMO (GJSx)                               Date     May 2, 2022
 Title             Ronald Bushy v. Michael Green, et al.




 Present: The Honorable          Fernando M. Olguin, United States District Judge
            Gabriela Garcia                               None                           None
                Deputy Clerk                    Court Reporter / Recorder              Tape No.
           Attorney Present for Plaintiff(s):                Attorney Present for Defendant(s):
                      None Present                                      None Present
 Proceedings:              (In Chambers) Order Re: Request for Clarification [28]

       Having reviewed pro se defendant Michael Green’s (“defendant”) Request for Clarification
of and or Amendment of Existing Order (Dkt. 28, “Request”), IT IS ORDERED THAT:

       1. The Request (Document No. 28) is granted in part and denied in part as set forth in
this Order.

      2. The scheduling conference, currently set for June 2, 2022, shall be continued to June
9, 2022.

      3. Counsel for all appearing parties, and all unrepresented parties, if any, shall file a Joint
Rule 26(f) Report no later than May 22, 2022, that complies with the requirements in the Court’s
Order of March 22, 2022 (Dkt. 21).

        4. Defendant’s request for a stay while he obtains counsel is denied. Defendant shall comply
with all the dates and requirements set forth in the Court’s Order of April 15, 2022, granting his
request for an extension of time to answer plaintiff’s First Amendment Complaint. (See Dkt. 26,
Court’s Order of April 15, 2022).



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                                                         Initials of Preparer          gga




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